
It is ordered and adjudged by this court, that the judgment of said circuit court be, and the same hereby, is, modified so as to allow and permit plaintiff, the United States Coal- Company, to erect and maintain upon and across the premises of defendants, or along the line of the premises of the defendants and the adjacent land-owners, such number of service poles as shall be reasonably required for the proper support of the power-transmitting wires of said coal company necessary to be used by said company in the proper and convenient mining by electricity of the coal now owned by it in Smithfield and Wells Townships, Jefferson County, Ohio. And it is ordered and adjudged by this court that this case be, and the same hereby is remanded to the circuit court of Jefferson county with instructions to that court to hear evidence and determine and establish a line upon or across the premises in the petition described, or along the lines of the premises of the defendants and adjacent land-owners, upon which said poles may be erected and said wires may be strung at such places and in such manner as will enable the coal company to properly, conveniently and economically carry on its business of mining as aforesaid, and as will not necessarily interfere with or impair the convenient use of defendants of their said premises.
Shauck, C. J., Price, Crew, Summers, Spear and Davis, JJ., concur.
